                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


CHAZMINE ENGLISH, as p/n/g of C.L.               )
and J.L., et al.,                                )
                                                 )
                              Plaintiffs,        )
                                                 )
v.                                               )   Case No. 4:21-00446-CV-W-BP
                                                 )
ERIC DEVALKENAERE, et al.,                       )
                                                 )
                              Defendants.        )


                                    JOINT STATUS REPORT

       Plaintiffs and Defendants (collectively, the “Parties”), by and through counsel, file this

Joint Status Report in accordance with the Court’s Order dated September 8, 2021 (Doc. 23), and

state as follows:

       1.      Plaintiffs filed this lawsuit on June 28, 2021. (Doc. 1). Plaintiffs allege causes of

action against a Kansas City, Missouri police detective and members of the Board of Police

Commissioners related to the death of Cameron Lamb on December 3, 2019.

       2.      As the Court recognized in its September 8, 2021 Order (Doc. 1), one of the

Defendants in this case is a party to a criminal case styled State v. DeValkenaere, No. 2016-

CR02823, pending in the Circuit Court of Jackson County, Missouri. A bench trial was held in

the criminal case during the week of November 8, 2021. The judge in the criminal case, Presiding

Judge J. Dale Youngs, announced his verdict on Friday, November 19, 2021.

       3.      Because the verdict in the criminal trial involving Defendant DeValkenaere was

announced days ago, Defendants counsel in particular is in the process of evaluating the verdict

and has not been able to fully consider its impact on proper scheduling in this case.




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         4.      The Parties respectfully submit that a short additional period of time to evaluate

recent developments and discuss and submit a joint proposed scheduling order to the Court is the

most prudent course of action.

         5.      The Parties propose that the Court establish a deadline of December 1, 2021 for the

parties to submit the joint proposed scheduling order to the Court.

         6.      This request to move the deadline for the submission of a joint proposed scheduling

order from November 22, 2021 to December 1, 2021 is not made for purposes of delay and will

not interfere with the just and efficient resolution of this case.

         7.      A proposed Order granting this Joint Motion will be submitted to the Court

consistent with the Court’s CM/ECF Administrative Procedures Manual.

         WHEREFORE, the Parties respectfully submit this Joint Status Report and request that the

Court set December 1, 2021 as the deadline to file the parties’ joint proposed scheduling order.

         Dated: November 22, 2021


Respectfully submitted,

MCELDREW, YOUNG,                                        BERKOWITZ OLIVER LLP
PURTELL MERRITT

By:       /s/ John J. Coyle, III                        By: /s/ James M. Humphrey IV
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Attorneys for Plaintiffs




                                CERTIFICATE OF SERVICE

        I hereby certify that on November 22, 2021, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notice of such filing to all attorneys
of record.


                                                 /s/ James M. Humphrey IV
                                             Attorney for Defendants




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